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           The “Dial Tone” for
      Web Communications Services




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The “Dial Tone” for Web
Communications Services
______________________________________________________________________


WebExTM MediaToneTM technology enables WebEx meeting participants worldwide to                      Customer Requirements
enjoy the richest set of data, voice and video interactive services together with
unparalleled network performance and reliability. The secure, highly scalable MediaTone             As they evaluate solutions that can
Network can support millions of simultaneous calls, and as many as 5,000 individuals                deliver such benefits, customers
may attend one meeting.                                                                             factor in many technical and
                                                                                                    business requirements. These
                                                                                                    include the need for:
The WebEx MediaTone Platform positions WebEx as the technological leader in Web
communications services, providing OEM services to WebEx partners and industry-                     • A flexible, scalable, reliable Web
leading meeting services to nearly 7000 corporations. The MediaTone architecture                      services architecture with powerful
provides ubiquitous access—regardless of location, hardware platform, operating                       and extensible capabilities.
system, browser, and wired or wireless status—enabling everyone to reap the benefits of             • The ability to accommodate
online meetings.                                                                                      millions of people-minutes in
                                                                                                      online meetings.
                                                                                                    • Reliable third-party service
                                                                                                      provision for integrated rich-media
MediaTone Technology                                                                                  calls across enterprises.
                                                                                                    • Integration with the customer’s
All WebEx services integrate the company’s MediaTone technology. This proprietary                     enterprise IT infrastructure and
technology enables true interactive communication sessions with levels of functionality,              support for heterogeneous
reliability, security and scalability impossible to achieve in a database-centric, store-and-         environments (eg. Microsoft
                                                                                                      Exchange/Outlook and
retrieve architecture. With its modular framework and standards-based application                     Domino/Notes integration, Instant
programming interfaces (APIs), MediaTone is the “dial-tone” for Web communications.                   Messaging, Portals).
                                                                                                    • Support for diverse online meeting
The highly extensible WebEx architecture includes two components: the MediaTone                       scenarios (e.g., sales, marketing,
Network and the MediaTone Platform.                                                                   training, support, project
                                                                                                      management, design reviews).
                                                                                                    • Rapid deployment and ease of
                                                                                                      administration.
                                                                                                    • Security that addresses
                                                                                                      authentication, encryption,
                                                                                                      auditing and tracking.
                                     PSTN                                                           • Full support for ad-hoc and
                                                                                                      scheduled sessions.
                                                                                                    • Integration with billing and
                                                                                                      reporting systems.
                                                                                                    • Support for personalization.
                                                                                                    • Seamless integration with voice
                                                                                                      systems such as audio
                                   WebEx                                                              conferencing bridges and Voice
                                  MediaTone                                                           over IP (VoIP) solutions.
                                   Network                                                          • Worldwide 24x7x365 support and
                                                                                                      native language support.




                                     Internet




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MediaTone Network

The MediaTone Network is a fully redundant, high-performance private global network         With the WebEx MediaTone
specifically designed to deliver Web communications services. Created with a carrier-       Network:
class information-switching architecture, the MediaTone Network delivers optimal
                                                                                            • Latency and interruptions in multi-
performance by routing communications across several WebEx data centers. The result
                                                                                              point interactive meetings are
is a high-performance network that is unmatched for secure, reliable, fast, real-time Web     eliminated, even when participants
communications. WebEx is the only company to develop and deploy a globally                    are located in different countries.
distributed information-switching network specifically designed for the delivery of         • Participants may use any
interactive Web communications services.                                                      telephone for the audio portion of
                                                                                              their meeting.

MediaTone Platform
                                                                                            The MediaTone Platform
                                                                                            Provides:
The MediaTone Platform, a distributed software architecture for Web-based
communications services, is deployed over the MediaTone Network. The MediaTone              • Administrative capabilities, such
Platform supports the full range of data, voice and video communications needed to            as scheduling, provisioning and
provide a setting that simulates the full spontaneity and productivity of face-to-face        billing.
meetings. With the MediaTone Platform, WebEx can rapidly develop new interactive Web        • Capabilities for session
communications services.                                                                      management, conference control
                                                                                              and communications.
                                                                                            • Rich features, such as application
                                                                                              sharing, video, white boarding and
                                                                                              VoIP.




WebEx MediaTone Architecture



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A More Robust T.120
                             The MediaTone Platform leverages the T.120 standard,             The OSI Model
                             which supports platform-independent, multi-point data
                             communications. WebEx has built upon the T.120 standard,         The OSI communications model
                             adapting it to a Web-native infrastructure and significantly     defines how messages should be
                             enhancing the T.120 Presentation and Application Layers.         transmitted between any two points
                                                                                              in a telecommunication network. The
                             WebEx also has extended the T.120 protocols for
                                                                                              reference model defines seven
                             scalability, fault tolerance, security and manageability—        layers of functions that take place at
                             while assuring PSTN integration. By basing the MediaTone         each end of a communication. Within
                             Platform on an enhanced version of the T.120 standard and        the OSI Model:
                             by creating a set of integration toolkits, WebEx has created
                             a highly scalable and open information-switching network.        • The Application Layer represents
                                                                                                the level at which applications
Originally developed by leading telecommunications providers to promote Integrated              access network services, such as
Services Digital Network (ISDN) service, T.120 is the first well-defined switched               software for file transfers,
                                                                                                database access and electronic
architecture for real-time data communications. The standard addresses multimedia-
                                                                                                mail.
technology issues with attention to both voice and data requirements. The T.120
                                                                                              • The Presentation Layer
protocol, which focuses on Layers 5-7 of the OSI Model, addresses the following issues:         translates data from the
                                                                                                Application Layer and manages
    •   Communications/transport interface (e.g., TCP/UDP).                                     security issues by providing
    •   Multipoint session management and conference control.                                   services such as data encryption
    •   Application Layers standards.                                                           and compression.
    •   White boarding, application sharing and file transfer.                                • The Session Layer enables two
                                                                                                applications on different
                                                                                                computers to establish, use and
WebEx enhancements to the T.120 protocol suite include:                                         end a session.
                                                                                              • The Transport Layer handles
    •   Well-defined support for HTTP.                                                          error recognition and recovery. It
    •   Vector-based graphic format for sharing any document/format and session                 also repackages long messages,
        archiving.                                                                              when necessary, and sends
    •   Format and protocol for sharing and synchronizing rich media.                           receipt acknowledgments.
    •   Federated Switched Network for global deployment and ubiquitous access.               • The Network Layer addresses
                                                                                                messages and translates logical
    •   PSTN integration.                                                                       addresses and names into
    •   A rich set of APIs and tools for integration with Web and desktop applications.         physical addresses. It also
    •   Enhanced network scalability, reliability and manageability.                            determines the routes and
    •   Improved security.                                                                      manages traffic problems.
    •   Business and operational tuning.                                                      • The Data Link Layer packages
                                                                                                raw bits from the Physical Layer
                                                                                                into frames— logical, structured
                                                                                                packets for data.
Service Management Layers                                                                     • The Physical Layer transmits bits
                                                                                                from one computer to another and
WebEx service management layers provide customers with an extensive array of                    regulates the transmission of a
features to maximize the use of WebEx services. WebEx service management                        stream of bits over a physical
capabilities include:                                                                           medium.

    •   Administration.
    •   Reporting and Monitoring.
    •   Fault/Recovery.
    •   Provisioning and Billing.
    •   Authentication.




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A Secure Network-Friendly Solution
                     WebEx patent pending technologies provide universal access to          “WebEx Event Center and Meeting
                     the MediaTone servers from the Internet. WebEx provides a              Center services enable VeriSign to
                     secure location on the Internet where users can connect and            present important new product
                     collaborate at any time from any place without requiring               information to our affiliates more
                     modifications to their security infrastructure.                        effectively and efficiently. Our
                                                                                            professional services group has
                                                                                            increased productivity by providing
                       WebEx provides encryption of all session content with Secure         quality support to our customers
                       Sockets Layer (SSL) technology to ensure the high level of           around the globe in far less time.
security required for enterprise data communications. The T.120 based MediaTone             WebEx provides the collaboration
architecture ensures that session contents are switched through the MediaTone Network       and presentation power required to
and never stored in the WebEx infrastructure.                                               fully support our outsourced service.”

                                                                                            Stephen Fridakis, director of
Additional Key Capabilities of the MediaTone Platform                                       professional services, VeriSign

WebEx Universal Communications Format (UCF)
  • UCF is a part of the MediaTone technology developed by WebEx that makes
      interactive communication powerful and effective by delivering unprecedented          “With WebEx we're able to train
      levels of interactivity and support for advanced multimedia communications.           hundreds of people at any given
  • UCF technology includes a portable document format for sharing and annotating           point in time. The employee never
      on any document, and a protocol for sharing multimedia content.                       has to leave the branch. So the
                                                                                            branch does not lose the productivity
  • UCF enables the ability to:                                                             of the employee. And we wind up
      • Share PPT presentations with animations and transitions.                            with a better-trained employee.
      • Spontaneously show rich media in WebEx meetings.                                    We've estimated that this is saving
      • Easily create engaging, interactive presentations containing rich media.            us more than $4 million dollars per
      • Share Flash animation, video, audio, Web pages, and WebEx recordings in             year.”
           WebEx meetings with full control over delivery.
                                                                                            Ron Schneider, First Vice President
                                                                                            of training and performance
WebEx Access Anywhere™                                                                      development, Countrywide
The WebEx Access Anywhere service enables any meeting participant to securely               Wholesale Lending Division
access or share information or applications that reside on an unattended remote
computer. Mobile employees can access information on their office computers from a
personal digital assistant (PDA) and share it in a WebEx meeting.

Video Conferencing
WebEx technology supports video conferencing with a browser and Webcams. WebEx
also supports feeds from video technologies, including Polycom cameras and standard
video camcorders. MediaTone also provides support for multi-point video conferencing.

The WebEx Solution
WebEx has developed a comprehensive set of Web communications services built on its
patented MediaTone technology in order to meet the diverse requirements of its
enterprise customers, enterprise portal providers, application developers and
telecommunications providers. All WebEx services support highly interactive data, voice
and video communications across multiple client platforms:

   •   Windows 95, 98, ME, NT, 2000 and XP, Tablet PC
   •   Macintosh OS 9 and OS X
   •   Solaris 7 and 8, HP-UX 11.3, Linux
   •   Palm OS, Pocket PC




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Integrating WebEx Services with Enterprise Applications
                           Customers can integrate WebEx services with their enterprise       Protocol Support
                           applications by using the WebEx integration technologies.
                           These include APIs and software development kits (SDKs) that       MediaTone technology supports
                           support integration of real-time interactive capabilities with     many multimedia protocols to fulfill
                           applications such as enterprise portals, project management        its mission of delivering rich-media
                                                                                              contents to the broadest possible
                           services, content management solutions, and learning
                                                                                              selection of customer devices.
                           management systems using the popular Web programming               Supported standards and protocols
                           languages HTML/XML. More than 350 companies and                    include:
                           partners have integrated their applications with the MediaTone
                           Platform.                                                          • H.323, the leading protocol for
                                                                                                VoIP.
The WebEx APIs, together with MediaTone’s support for voice/data standards and                • Session Initiation Protocol (SIP),
protocols, provide many benefits for corporate customers and end users of WebEx                 which is used for conferencing via
services. Upon integrating their applications with WebEx services, corporations gain            IP phone or instant messenger
powerful Web collaboration capabilities that drive productivity and reduce travel costs. In     (IM) device.
                                                                                              • Lightweight Directory Access
addition, the ability to integrate WebEx services with corporate accounting, CRM, ERP,
                                                                                                Protocol (LDAP), a vendor-
human resources and other key applications streamlines maintenance and upkeep. For              independent network directory
end users, participating in WebEx online meetings is easy and efficient; single sign on         protocol that provides directory-
integration eliminates the need for multiple passwords, and the user can easily move            server integration for WebEx
between applications or documents, as the meeting requires.                                     services.
                                                                                              • Extensible Markup Language
                                                                                                (XML).
WebEx Integration Capabilities                                                                • SSL.
                                                                                              • Aviation Industry CBT Committee
                                                                                                (AICC) protocol.
The WebEx APIs and SDKs enable the following integration capabilities for enterprise
                                                                                              • SCORM.
customers and teleconferencing service providers:
                                                                                              In addition, WebEx supports the
To manage user data:                                                                          Universal Communication Format™
   • Sign up new user                                                                         (UCF)—a revolutionary delivery
   • Login/logout                                                                             format that enables high-speed
   • Activate/deactivate users                                                                sharing and delivery of rich content
                                                                                              as part of a presentation. UCF
   • Edit users
                                                                                              enables users to share content
                                                                                              within MicrosoftTM PowerPointTM
To manage meeting scheduling and registration:                                                presentations, with full control over
   • Start/schedule/host/join                                                                 the delivery. Users can share full
   • Edit/delete                                                                              PowerPoint animation and
   • List/add/delete attendees                                                                transitions, just as they would in an
   • Create/get registration form                                                             in-person meeting, and participants
                                                                                              may start, stop or pause the
   • Register attendee                                                                        streaming content whenever they
                                                                                              desire.
To manage and access the history of online sessions:
   • List/get usage history
   • List recorded access history




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WebEx Services


                 WebEx Enterprise EditionTM enables administrators to provide,            Benefits of WebEx Services
                 and users to access, the complete suite of WebEx interactive
                 services, leveraging the features of the specific service that’s         Benefits of WebEx services include
                 best for their needs. WebEx Enterprise Edition is delivered with         the ability to share multiple
                                                                                          documents and presentations in a
                 My WebEx, the personal interface into the WebEx suite of
                                                                                          meeting and use streaming or local
                 services. Through My WebEx, users within the enterprise can              multi-media content. Multiple
                 access all of their WebEx services in a single place, with a single      presenters may collaborate in one
                 login.                                                                   meeting, and multi-language
                                                                                          meetings are available through a
                                                                                          customizable interface. Presenters
                 WebEx Meeting Center™ is the most powerful online Web                    may run any software application for
                 meeting solution available. Users can present, collaborate,              effective demos, training and team
                 demonstrate, sell – anything that can be done in a face-to-face          meetings, including applications for:
                 meeting can be done in a WebEx meeting. MediaTone enables
                                                                                          • Customer relationship
                 productive, online meetings with rich media, using any desktop,            management (CRM)
                 laptop, or wireless handheld device.                                     • Enterprise resource planning
                                                                                            (ERP)
                                                                                          • Financial management

                 WebEx Training Center™ empowers users to deliver a rich and              The following capabilities are
                 compelling live, online classroom experience. Users can                  included in some or all of the WebEx
                 maximize the reach, timeliness, and effectiveness of training            services:
                 programs while decreasing delivery costs.
                                                                                          •   Application Sharing
                                                                                          •   Remote Control
                                                                                          •   White Boarding
                                                                                          •   Polling
                                                                                          •   Chat
                                                                                          •   Q&A
                 WebEx Event Center™ makes highly effective seminars and                  •   Breakout Sessions
                 exciting multimedia events available with a browser, managed             •   Integrated VoIP
                 from a user’s desktop, all for a fraction of the cost of a traditional   •   Integrated audio conferencing
                 enterprise-wide event.




                 WebEx Support Center™ utilizes the power of WebEx to create
                 a perfect environment for delivering high-quality, low-cost
                 customer support.




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Requirements of a Web Communications Platform
                          Much like the telecommunications infrastructure is built on                                WebEx History
                          standards to support voice communications from myriads of
                          endpoints, a Web communications infrastructure must provide                                • Founded, 1996.
                          for ubiquitous access, allow for an ever-increasing range of                               • Initial Public Offering, 1999.
                          functionality, be scalable and extensible, and most importantly                            • Acquired and developed key
                          be reliable. The Web has been a powerful medium for                                          technologies in real-time
                                                                                                                       collaboration.
                          ubiquitous access to information and services, and a successful
                                                                                                                     • Today offers a breadth of services
                          communications platform should leverage it for access to its
                                                                                                                       that are unparalleled in the
                          services by individuals who are anywhere in the world and who                                industry—plus outstanding
use any combination of wired or wireless Internet devices. Finally, the infrastructure                                 scalability, reliability and cost
should provide support for rapid provisioning of an increasing range of services with                                  performance.
relatively low cost of ownership.                                                                                    • Headquartered in San Jose, Calif.,
                                                                                                                       with offices in Sacramento, New
                                                                                                                       York, Amsterdam, Melbourne,
WebEx Delivers Web Communications Solutions                                                                            Hong Kong and Tokyo.
                                                                                                                     • Approximately 950 employees
                                                                                                                       worldwide.
To meet demand for Web communications services such as online meetings,                                              • Research and Development
conferencing, learning and customer support, WebEx is adding live interaction                                          Centers of Excellence in San
capabilities to the Web. This requires strong support for service management, multi-point                              Jose, Hangzhou, Suzhou and
conference control as well as robust communications support. Additionally, with full                                   Hefei.
support for sharing any documents including streaming audio and video, Flash, and other                              • Data Centers in San Jose,
rich media formats, WebEx communications services enable users to share applications,                                  Denver, Virginia, Hong Kong,
take remote control, and interactively annotate on-screen materials. With these services,                              Tokyo, Stockholm and London.
enterprises have:

     •    Richer, more effective online communications.
     •    Faster time to market and quicker problem resolution.                                                        Worldwide Sales Offices:
     •    Lower costs for expenses such as travel, meeting venues and meeting planning.
     •    Better decision-making.                                                                                      Americas & Canada
                                                                                                                       Tel: +1.877.50.WEBEX
     •    Improved productivity and efficiency through the use of real-time interactive Web                            AmericasInfo@webex.com
          communications across the enterprise.
                                                                                                                       Europe, Middle East & Africa
                                                                                                                       Tel: +31 (0)20.4108.700
                                                                                                                       EMEAinfo@webex.com

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